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 1 ALEXANDRE IAN CORNELIUS (State Bar No. 180652)
   JOSHUA S. STAMBAUGH (State Bar No. 233834)
 2 SUMMER R. SAAD (State Bar No. 250337)
 3 COSTELL & CORNELIUS LAW CORPORATION
   1299 Ocean Ave., Suite 450
 4 Santa Monica, California 90401
   Telephone: (310) 458-5959
 5
   Facsimile: (310) 458-7959
 6 Email: acornelius@costell-law.com; ssaad@costell-law.com;
 7 Attorneys for Lucy Gao
 8                      UNITED STATES BANKRUPTCY COURT
 9            CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10                              LOS ANGELES DIVISION
11
     In re:                                      Case No.: 2:16-bk-13575-TD
12
   LIBERTY ASSET MANAGEMENT                      Chapter 11
13 CORPORATION, a California corporation,
                                                 Adv. No. 2:16-ap-01337-TD
14               Debtor and
                 Debtor in Possession.           DECLARATION OF ALEXANDRE I.
15                                               CORNELIUS IN SUPPORT OF GAO’S
                                                 OPPOSITION TO THE MOTION BY
16                                               THE OFFICIAL COMMITTEE OF
                                                 UNSECURED CREDITORS FOR
17                                               SUMMARY ADJUDICATION OF
                                                 DEFENDANTS’ LIABILITY FOR
18                                               BREACH OF FIDUCIARY DUTIES
                                                 AND ACCOUNTING
19
20                                               Date:     December 21, 2016
21 OFFICIAL UNSECURED CREDITORS
   COMMITTEE FOR LIBERTY ASSET
                                                 Time:     11:00 a.m.
                                                 Location: Courtroom 1345
22 MANAGEMENT CORPORATION,                                 255 E. Temple St.
                                                           Los Angeles, CA 90012
23               Plaintiff                       Judge:    Thomas B. Donovan

24             vs.

25 LUCY  GAO, an individual, and BENJAMIN
   KIRK, an individual,
26                   Defendants
27
28
                                             1
                        DECLARATION OF ALEXANDRE I. CORNELIUS IN SUPPORT OF OPPOSITION TO
                               MOTION FOR SUMMARY ADJUDICATION AND RULE 56(D) REQUEST
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 1          I, Alexandre Ian Cornelius, declare as follows:
 2          1.      The following is within my personal knowledge and I could and would
 3 competently testify thereto except as to those statements that are based on information and
 4 belief and I believe those matters to be true. I am counsel for Defendant Lucy Gao.
 5          2.      I am making this declaration in support of Gao’s Opposition to the Motion

 6 by the Official Committee of Unsecured Creditors (the “Committee”) for Summary
 7 Adjudication of Defendants’ Liability for Breach of Fiduciary Duties and Accounting (the
     “MSA”), including but not limited to Gao’s objection to the Court denying her request for
 8
     a continuance and hearing this Motion within a period of time insufficient to allow Gao to
 9
     conduct discovery or sufficiently prepare a response to the MSA.
10
            3.      On November 21, 2016, Gao served written discovery on the Committee,
11
     and on Defendant Benjamin Kirk, including: Requests for Admission, Requests for
12
     Production of Documents and Interrogatories designed to address issues raised in the
13
     MSA. Given the rules of discovery, those responses will be due on December 22, 2016.
14
     True and correct copies of the written discovery described herein are attached hereto as
15
     Exhibit 1.
16          4.      On November 21, 2016, Gao also served notices of deposition on counsel for
17 Kirk and the Committee for January 9 and 10, 2017. True and correct copies of the notices
18 of deposition are attached hereto as Exhibit 2.
19          5.      Gao has also issued subpoenas for four nonparty witnesses (Shelby (Tsai
20 Luan) Ho, Vanessa Lavendera, Sonya Chiou and Wei “Wendy” Huang for records and
21 testimony during December 9-16. True and correct copies of those deposition subpoenas
22 are attached hereto as Exhibit 3. At least one of these witnesses, Wei “Wendy” Huang is a
23 party in a case pending in the United States District Court for the Northern District of California,
24 case no. 3:15-cv-01373-VC (“JD Brothers’ Case”), in which the plaintiff asserts similar (if
25 not identical) claims as those raised by the Committee in this matter. Gao’s counsel has
   contacted the attorneys of all of the above-witnesses (other than Vanessa Lavendaera who
26
   has been served) to request that counsel accept service on behalf of their respective clients.
27
   Counsel for Ho and Chiou declined to accept service.
28
                                                  2
                            DECLARATION OF ALEXANDRE I. CORNELIUS IN SUPPORT OF OPPOSITION TO
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 1         6.     After sending the subpoenas out for service, and serving at least one witness,
 2 Vanessa Lavendera, a number of attorneys representing various parties in the JD Brothers
 3 case held a teleconference to meet and confer regarding the scheduling of depositions for
 4 that case. During that teleconference, Gao’s counsel was advised that Kirk’s counsel in the
 5 JD Brothers case now represents non-party witness, Vanessa Lavendera. Gao’s counsel
 6 was further advised that the date scheduled or Lavendera’s deposition conflicts with
   counsel’s travel schedule. At the end of the teleconference counsel for Kirk, Lavendera,
 7
   Huang and Gao agreed to provide dates available for their clients and other witnesses with
 8
   whom they have contact and can provide dates. To date, counsel for Kirk and Wendy
 9
   Huang have advised that their clients will be available for depositions during the month of
10
   January.
11
          7.      Collectively attached hereto as Exhibit 4 and incorporated herein by this
12
   reference is a true and correct copy of the declaration of diligence report regarding various
13
   attempts made to serve Shelby (Tsai Luan) Ho.
14
          8.      Collectively attached hereto as Exhibit 5 and incorporated herein by this
15 reference is a true and correct copy of the due diligence reports regarding attempts made to
16 serve Sonia Chiou at various locations.
17         9.     Collectively attached hereto as Exhibit 6 and incorporated herein by this
18 reference is a true and correct copy of pages 5-6:13-5, 13:1-6, 14-15:10-1, 15:5-20, 16:9-
19 23, 17-18:11-10 and 19:4-12 thereto from the Debtor’s 341(a) Meeting of Creditors. This
20 meeting was heard on April 25, 2016 conducted by Queene NG, United States Trustee’s
21 Office. The certified court reporter was Kathy Rehling, CETD No. 444.
22         10.    Collectively attached hereto as Exhibit 7 and incorporated herein by this

23 reference is a true and correct copy of pages 2, 84:12-25, 85:1-13, 86:10-25, 87:1-18,
24 95:14-25, 96:1-3, 117:12-17, 118:3-17, 121:1-25, 122:9-25, 123:1-25 and 146:7-10 thereto
     from the hearing regarding Renewed Emergency Motion for Turnover of Property of the
25
     Estate and Books and Records Relating to Property of the Estate recorded on June 22,
26
     2016 before the Honorable Thomas B. Donovan. The hearing was transcribed by Jordan
27
     Keilty and authenticated by L.L. Francisco.
28
                                                   3
                          DECLARATION OF ALEXANDRE I. CORNELIUS IN SUPPORT OF OPPOSITION TO
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 1
 2         I declare under penalty of perjury under the laws of the United States and the State
 3 of California that the foregoing is true and correct.
 4
           Executed this 5th day of December, 2016, at Santa Monica, California.
 5
 6
 7
 8
                                             ___/s/ Alexandre Ian Cornelius_________________
 9                                           ALEXANDRE IAN CORNELIUS
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 1299
Ocean Ave., Suite 450, Santa Monica, CA 90401.

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ALEXANDRE I. CORNELIUS
IN SUPPORT OF GAO’S OPPOSITION TO THE MOTION BY THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR SUMMARY ADJUDICATION OF DEFENDANTS’ LIABILITY FOR BREACH OF FIDUCIARY
DUTIES AND ACCOUNTING, will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 5, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
      Alexandre I Cornelius              aicornelius@costell-law.com; ssaad@costell-law.com; mharris@costell-
                                         law.com; jstambaugh@costell-law.com; ladelson@costell-law.com;
                                         jlcostell@costell-law.com
      William Crockett                   wec@weclaw.com; ksa@weclaw.com
      Gail S Greenwood                   ggreenwood@pszjlaw.com; efitzgerald@pszjlaw.com
      Jeremy V Richards                  jrichards@pszjlaw.com; bdassa@pszjlaw.com; imorris@pszjlaw.com
      United States Trustee (LA)         ustpregion16.la.ecf@usdoj.gov
      James S Yan                        jsyan@msn.com

2. SERVED BY UNITED STATES MAIL:
On (date) December 5, 2016, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

        None – N/A

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 5, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and U.S. Courthouse
255 East Temple Street, Suite 1345
Los Angeles, CA 90012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

December 5, 2016                                   Melvin Harris                                                 /s/ Melvin Harris

 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
